Case 1:09-cv-02912-PAB Document 1-4 Filed 12/11/09 USDC Colorado Page 1 of 9




                                                                  EXHIBIT D
Case 1:09-cv-02912-PAB Document 1-4 Filed 12/11/09 USDC Colorado Page 2 of 9




                                                                  EXHIBIT D
Case 1:09-cv-02912-PAB Document 1-4 Filed 12/11/09 USDC Colorado Page 3 of 9




                                                                  EXHIBIT D
Case 1:09-cv-02912-PAB Document 1-4 Filed 12/11/09 USDC Colorado Page 4 of 9




                                                                  EXHIBIT D
Case 1:09-cv-02912-PAB Document 1-4 Filed 12/11/09 USDC Colorado Page 5 of 9




                                                                  EXHIBIT D
Case 1:09-cv-02912-PAB Document 1-4 Filed 12/11/09 USDC Colorado Page 6 of 9




                                                                  EXHIBIT D
Case 1:09-cv-02912-PAB Document 1-4 Filed 12/11/09 USDC Colorado Page 7 of 9




                                                                  EXHIBIT D
Case 1:09-cv-02912-PAB Document 1-4 Filed 12/11/09 USDC Colorado Page 8 of 9




                                                                  EXHIBIT D
Case 1:09-cv-02912-PAB Document 1-4 Filed 12/11/09 USDC Colorado Page 9 of 9




                                                                  EXHIBIT D
